
SHAW, Justice.
We have for review Thompson v. State, 707 So.2d 1191 (Fla. 4th DCA 1998), wherein the district court certified conflict with Mays v. State, 693 So.2d 52 (Fla. 5th DCA 1997). We have jurisdiction. Art. V, § 3(b)(4), Fla. Const.
We have since approved the district court decision in Mays. See Mays v. State, 717 So.2d 515, 23 Fla. L. Weekly S387 (Fla.1998) (holding that under section 921.001(5), Florida Statutes (1995), if the “true” recommended guidelines sentence exceeds the statutory maximum, the guidelines sentence must be imposed). Accordingly, we quash Thompson.1
It is so ordered.
*244-246HARDING, C.J., and OVERTON and WELLS, JJ., concur.
PARIENTE, J., concurs in part and dissents in part with an opinion, in which KOGAN and ANSTEAD, JJ., concur.

. We decline to address the other issue raised by Thompson since it was not the basis for our review.

